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            Richardson Declaration
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                                                   Exhibit A
                              Curriculum Vitae for James A. Richardson


JAMES A. RICHARDSON is John Rhea Alumni Professor of Economics and Director of the Public Administration
Institute in the E. J. Ourso College of Business Administration at Louisiana State University in Baton Rouge,
Louisiana. Dr. Richardson has also served as Chairman of the Department of Economics, Acting Dean of the
College of Business Administration, and Associate Vice Chancellor for Academic Affairs at Louisiana State
University.

Dr. Richardson has served from 1987 through the present as the private economist on the Louisiana Revenue
Estimating Conference, the panel with the constitutional authority and responsibility to provide official revenue
estimates for the state. This Conference includes the Governor of the State, the President of the Senate, and the
Speaker of the House of Representatives. Dr. Richardson also serves as a member of the Board of Directors of the
Public Affairs Research Council and as a member of the Board of Trustees of the Council for A Better Louisiana.

He organized and supervised a major tax study for the state of Louisiana which resulted in Louisiana Fiscal
Alternatives: Finding Permanent Solutions to Recurring Budget Crises, published by the LSU Press in 1988. Dr.
Richardson has co-edited a major book, Handbook on Taxation, which was published by Marcel Dekker in January
1999. Dr. Richardson also served on the Louisiana Law Institute’s Tax Study Commission, a group that was formed
in response to Senate Concurrent Resolution 88, passed in 1999.

Dr. Richardson served as fiscal advisor to the Governor of Louisiana from 1988 through 1991. He contributed to the
comprehensive tax study for the state of Kansas in 1995. He served as an advisor to the state of Alabama’s
Department of Revenue in 1996. He has served as Associate Editor of the Journal of Education Finance and the
Texas Business Review. His work has been published in numerous journals such as the National Tax Association
Proceedings, State and Local Government, Public Finance Quarterly, Growth and Change, Natural Resources
Journal, Journal of Energy and Development, and Journal of Economic Dynamics and Control.

Dr. Richardson also participates in the preparation of the Louisiana Economic Outlook, a two-year forecast of the
Louisiana Economy published by the E. J. Ourso College of Business Administration at Louisiana State University.
The Louisiana Economic Outlook has been published, and Dr. Richardson has participated in the publication, since
1983. This outlook focuses on major industries in Louisiana, specifically the oil and gas industry.

Dr. Richardson prepared analysis of the impact of Katrina on the New Orleans economy and ways to accelerate its
recovery for the Financial Services Roundtable. He also testified before the Committee on Financial Services of the
United State House of Representatives on Housing and the New Orleans Recovery. He has been involved in
numerous studies regarding the New Orleans recovery, including studies regarding the upgrading of the riverfront,
enhancing the theater district, developing downtown attractions such as the aquarium and the insectariums, and
relating the New Orleans airport to the city’s economic development. Dr. Richardson was a member of the team
putting together Plan Baton Rouge 2, the master plan for East Baton Rouge Parish, and the master plan for
Ascension Parish. Dr. Richardson has also providing fiscal and economic analysis to the parish of Livingston. He
has consulted with major mixed-use developments, major industrial projects, various governmental units.

 Dr. Richardson received his bachelors of art degree in economics from St. Mary’s University of San Antonio, Texas
and his Master’s degree in economics and the doctorate in economics from The University of Michigan. Dr.
Richardson specializes in regional forecasting, state and local tax policy, economic valuation, and energy
economics.
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                                  James A. Richardson
                       John Rhea Alumni Professor of Economics
    Harris J. and Marie C. Chustz Distinguished Professor in Business Administration
                        Director, Public Administration Institute
                               Louisiana State University

Bus. Address:       Public Administration Institute
                    2039 Business Education Complex
                    Louisiana State University

                    Baton Rouge, LA 70803
                    (225) 578-6745
                    (225) 578-9078 FAX
                    parich@lsu.edu

Home Address:       3165 Kleinert Avenue
                    Baton Rouge, LA 70806
                    (225) 383-3310
                    (225) 383-2575 FAX
                    jamesrichardson2@cox.net



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Personal Data:   Born, 2/23/44, San Antonio, Texas
                 Married, 2 children

Education:       A.B., (Economics) St. Mary’s University of Texas, 1966
                 A.M., (Economics) University of Michigan, 1970
                 Ph.D., (Economics) University of Michigan, 1971


Employment:      Director, Public Administration Institute and John Rhea Alumni Professor
                 of Economics, Louisiana State University, 1984 –

                 Associate Vice-Chancellor for Academic Affairs; Director, Public
                 Administration Institute; and Alumni Professor of Economics, Louisiana
                 State University, 1989 – 1994

                 Acting Dean and Professor of Economics, Louisiana State
                 University, 1983-1984

                 Chairperson and Associate Professor of Economics, Louisiana State
                 University, 1982-1983

                 Graduate Coordinator and Associate Professor of Economics,
                 Louisiana State University, 1975-1982

                 Assistant Professor of Economics, University of Michigan, 1971

                 Assistant Professor of Economics, Louisiana State University,
                 1970-1975

                 Program Analyst, U. S. Bureau of the Budget, 1967


Boards and       Member, Council of Trustees, Gulf South Research Institute,
Committees:      1982-1987

                 Member, Board of Trustees, Public Affairs Research Council of
                 Louisiana, 1982-Present

                 Chairman, Board of Trustees, Public Affairs Research Council of
                 Louisiana, 1996-97

                 Member, Board of Trustees, Council for A Better Louisiana, 1988-
                 present

                 Charter Member, Louisiana Partnership for Technology, 1988-present



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                       Member, Revenue Estimating Conference, State of Louisiana, 1987-
                       present

                       Member, Government Fiscal Affairs Committee, Baton Rouge Chamber
                       of Commerce, 1986-2000

                       Member, Transition Team, Governor-elect 1988

                       Member, Transition Team, Louisiana State Treasurer, 1988

                       Member, Business Tax Issues, National Tax Association


Editorial Boards:      Texas Business Review, 1981-84

                       Journal of Education Finance, 1982-88


Research Activities:

              Books

                       Louisiana’s Fiscal Alternatives: Finding Permanent Solutions to
                       Recurring Budget Crises, editor (LSU Press, 1988).

                       Handbook on Taxation, co-editor (Marcel Dekker, January 1999).


              Chapters in Books

                       “Forecasting Revenues and Expenditures,” Chapter 38 in Handbook of
                       Governmental Accounting and Finance, edited by N. Apostolou and L.
                       Crumbley, (John Wiley, 1988); also in second edition (1991).

                       “Severance Tax Reform,” Chapter 16 in Reforming State Tax Systems,
                       edited by Steven D. Gold, (National Conference of State Legislatures,
                       1986).

                       “Introduction, Purpose, and Scope,” Chapter 1 in Louisiana’s Fiscal
                       Alternatives, edited by J. Richardson, (LSU Press, 1988).

                       “Tax Instability in Louisiana,” Chapter 7 in Louisiana’s Fiscal
                       Alternatives, edited by J. Richardson, (LSU Press, 1988).


                       “Mineral Taxes and Revenues and Budgeting Stability,” (With L. Scott),
                       Chapter 8 in Louisiana’s Fiscal Alternatives, edited by J. Richardson,
                       (LSU Press, 1988).
                                                4
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                “Paying For State Government in Louisiana: Considering the
                Alternatives,” Chapter 19 in Louisiana’s Fiscal Alternatives, edited by J.
                Richardson, (LSU Press, 1988).

                “Introduction to Handbook on Taxation,” chapter in Handbook on
                Taxation,edited by James A. Richardson and W. Bartley Hildreth
                (Marcel Dekker, 1999).

                “Economics Principles of Taxation,” chapter in Handbook on Taxation.
                Edited by James A. Richardson and W. Bartley Hildreth (Marcel Dekker,
                1999).

                “State Severance Taxes,” chapter in Handbook on Taxation, edited by
                James A. Richardson and W. Bartley Hildreth (Marcel Dekker, 1999).

                 “Forecasting State Revenues in Louisiana: From Dramatic Changes in
                the Oil and Gas Industry in the 1970s and 1980s to the Aftermath of
                Catastrophic Hurricanes in the 2000s” Handbook of Government
                Budget Forecasting, (Taylor and Francis, 2007).

          Peer-Reviewed Articles

                “Monetary Rules and Optimal Monetary Policy,” Nebraska Journal of
                Business and Economics (Autumn, 1975)

                “Projecting State Revenues in Louisiana: Progress and Problems,”
                Annals of Mid-South Academy of Economist, (Summer, 1976).

                “Projecting State Revenue in Louisiana with an Econometric Model,”
                State and Local Government Review (Fall, 1978) (co-author).

                “Tax Rate changes and the Specification of the Tax Equation,” Public
                Finance Quarterly (April, 1979) (co-author).

                “A Short-Run Regional Oil and Gas Model: The Case of Louisiana,”
                (with Loren C. Scott), Growth and Change (Fall, 1979).

                “Income and Employment in a State Econometric Model: The Case of
                Louisiana,” Journal of Economics, Vol. IV (Fall, 1978).

                “The Impact of the Energy Shortage on Small Businesses in Region VI,”
                (with Loren C. Scott) Texas Business Review, (July/August, 1980).

                “Determining an Appropriate Teacher Salary,” (with J. T. Williams)
                Journal of Education Finance (December 1981).


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               “Domestic and International Implications of Federal and State Policies
               Toward Heavy Oil,” Heavy Versus Light Oil: Technical Issues and
               Economic Considerations, edited by Ragaei El Mallakh, International
               Research Center for Energy and Economic Development (1983).

               “Resource Location Patterns and State Severance Taxes: Some Empirical
               Evidence,” (with Loren C. Scott) Natural Resources Journal, (Winter,
               1983).

               “A Review of State Severance Taxes in the United States,” (with Loren C.
               Scott) Texas Business Review (July/August, 1982).

               “Government Regulation and Market Distortions: The Case of the NGPA
               and the Louisiana Economy,” (with Loren C. Scott) Journal of Energy and
               Development (Autumn, 1982).

               “Subjective Evaluation of Composite Econometric Policy Inputs,” (with T.
               Gulledge and J. Ringuest) Socio-Economic Planning Sciences (Fall
               1986).

               “Spectral Analysis of Nominal Interest Rates,” (with U. Erol and T.
               Gulledge) Journal of Economic Dynamics and Control, (Proceedings)
               (1987).

               “A Re-Examination of the Fisher Hypothesis,” 13th World Congress on
               Computation and Applied Mathematics, Proceedings, Vol 4, (July 1991),
               pp. 1757-1759 (co-author).

               “The Politics and Economics of Taxing Oil and Gas in Louisiana,
               Proceedings, National Tax Association, 1992, pp. 170-173.

               “Taxing Oil and Gas in Kansas,” Kansas Business Review, Spring 1995.

               “Forecasting State Revenue in Louisiana: Procedures and Results,” 1995
               Academy of Business Administration.

               “State Severance Taxes,” Encyclopedia of Taxation and Tax Policy,
               (published by National Tax Association, 1998 and 2005).

               “Katrina/Rita: The Ultimate Test for Tax Policy,” National Tax Journal,
               (September 2006).

               “Natural Disasters and State and Local Finance in Louisiana: A Case
               Study in 2005,” Municipal Finance Journal, (Fall 2006).



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                 What’s Needed for Post-Katrina Recovery, Study for Financial Services
                 Roundtable, (March, 2006).

          Other Published Articles


                 “The Consumer Price Index: Part I,” Louisiana Business Review, (April,
                 1975).

                 “The Consumer Price Index: Part II,” Louisiana Business Review, (May,
                 1975).

                 “Louisiana’s Revenue Outlook,” Louisiana Business Review, (March,
                 1976).

                 “A Flowchart Description of the Louisiana Economy,” (with Loren C.
                 Scott) Annals of Louisiana Academy of Economists, (Fall 1977).

                 “The Consumer Price Index: Revised and Updated for the 1970’s,”
                 Louisiana Business Review, (April 1978).

                 “Louisiana Financial Opportunities,” Louisiana Business Review (May
                 1980).

                 “Louisiana Oil and Gas Severance Tax: A Historical Review,” Louisiana
                 Business Review (July 1978) (with Loren C. Scott).

                 “Louisiana’s Financial Opportunities: Money and Minerals,” Louisiana
                 Business Review, (Spring 1981).

                 “Experiences With the Combining of Simple Forecasts With Those From
                 Large Econometric Models,” Proceedings, American Institute for
                 Decision Science, Toronto, Canada, 1984 (with J.L. Ringuest and T.
                 Gulledge).

                 “Louisiana State Revenue Outlook,” Louisiana Business Review, (Spring
                 1983).

                 “Louisiana’s 1983 Economic Outlook,” Louisiana Business Review,
                 (Spring 1983) (co author).

                 “Louisiana’s 1984 Economic Outlook,” Louisiana Business Review, (Fall
                 1983) (co-author).

                 “Louisiana’s 1984 Economic Predictions,” Louisiana Business Review,
                 (Winter 1984).


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               “Louisiana’s Economic Outlook, 1985” (co-author) (LSU College of
               Business Administration, 1985).

               “Louisiana’s Economic Outlook, 1986” (co-author) (LSU College of
               Business Administration, 1986).

               “Louisiana’s Economic Outlook for 1988 and 1989” (co-author) (LSU
               College of Business Administration, 1987).

               “Louisiana’s Economic Outlook for 1989 and 1990” (co-author) (LSU
               College of Business Administration, 1988).

               “Louisiana’s Economic Outlook for 1990 and 1991” (co-author) (LSU
               College of Business Administration, 1989).

               “Louisiana’s Economic Outlook for 1991 and 1992” (co-author) (LSU
               College of Business Administration, 1990).

               “Louisiana’s Economic Outlook for 1992 and 1993” (co-author) (LSU
               College of Business Administration, 1991).

               “Louisiana’s Economic Outlook for 1993 and 1994” (co-author) (LSU
               College of Business Administration, 1992).

               “Louisiana’s Economic Outlook for 1994 and 1995” (co-author) (LSU
               College of Business Administration, 1993).

               “Louisiana’s Economic Outlook for 1995 and 1996” (co-author) (LSU
               College of Business Administration, 1994).

               “Louisiana’s Economic Outlook for 1996 and 1997” (co-author) (LSU
               College of Business Administration, 1995).

               “Louisiana’s Economic Outlook for 1997 and 1998” (co-author) (LSU
               College of Business Administration, 1996).

               “Louisiana’s Economic Outlook for 1998 and 1999” (co-author) (LSU
               College of Business Administration, 1997).

               “Louisiana’s Economic Outlook for 1999 and 2000” (co-author) (LSU
                College of Business Administration, 1998)

               “Louisiana’s Economic Outlook for 2000 and 2001” (co-author) (LSU’s
               E.J. Ourso College of Business Administration, 1999)

               “Louisiana’s Economic Outlook for 2001 and 2002” (co-author) (LSU’s


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                E.J. Ourso College of Business Administration, 2000)

                “Louisiana’s Economic Outlook for 2002 and 2003” (co-author) (LSU’s
                E.J. Ourso College of Business Administration, 2001)

                “Louisiana’s Economic Outlook for 2003 and 2004” (co-author) (LSU’s
                E.J. Ourso College of Business Administration, 2002)

                “Louisiana’s Economic Outlook for 2004 and 2005” (co-author) (LSU’s
                E.J. Ourso College of Business Administration, 2003)

                “Louisiana’s Economic Outlook for 2005 and 2006” (co-author) (LSU’s
                E.J. Ourso College of Business Administration, 2004)

                “Louisiana’s Economic Outlook for 2006 and 2007” (co-author) (LSU’s
                E.J. Ourso College of Business Administration, 2005)

                “Louisiana’s Economic Outlook for 2007 and 2008,” (co-author), (LSU’s
                E. J. Ourso College of Business Administration, 2006)

                “Louisiana’s Economic Outlook for 2008 and 2009,” (co-author), (LSU’s
                E. J. Ourso College of Business, 2007)

                “Louisiana’s Economic Outlook for 2009 and 2010,” (co-author), (LSU’s
                E. J. Ourso College of Business, 2008)

                “Louisiana’s Economic Outlook for 2010 and 2011,” (co-author), (LSU’s
                E. J. Ourso College of Business, 2009)

                “Louisiana’s Economic Outlook for 2011 and 2012,” (co-author), (LSU’s
                E. J. Ourso College of Business, 2010)

       Book Reviews


                Is Growth Obsolete? By William Nordhaus and James Tobin for The
                Annals of Regional Science.

                Unemployment, Vacancies, and the Rate of Change of Earnings: A
                Regional Analysis, by A.E. Webb and Regional Rates of Growth of
                Employment: An Analysis of Variance Treatment by B. Weeden.
                National Institute of Economic and Social Research, Regional Papers III
                (Cambridge University Press, 1974) for The Annals of Regional Science.




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Grants and Research Studies Associated with Grants, LSU:


                    Louisiana Revenue Projection Model, grant through Legislative Fiscal
                    Office, 1975, $72,000 (with Loren C. Scott).
                            Louisiana Revenue Projection Model, 80 pages.
                            User’s Manual for Revenue Model, 106 pages.
                            Compendium of Louisiana Taxes and Revenues, 343 pages.

                    Energy Policy Evaluation Model, grant through Department of Natural
                    Resources, 1978-79, $21,000 (with W.P. Culbertson).
                          Energy/Resources Policy Evaluation System, 81 pages.

                    State Taxation of Natural Resources, grant through U.S. Department of
                    Interior, 1980-81, $72,500 (with Loren C. Scott).

                    Taxation of Natural Resources by States: Theoretical and Empirical
                    Findings, 200 pages. Louisiana Econometric Model, grant through
                    Board of Regents, 1981-81, $65,000 (with Loren C. Scott). Results
                    published in Louisiana Business Review (Winter, 1983).

                    Louisiana Energy Sector, grant from LSU Center for Energy Studies,
                    1983, $17,500 (with Loren C. Scott).

                    Louisiana Econometric Model, grant from Louisiana Board of Regents,
                    1983-84, $55,000 (with Loren C. Scott).

                    KPGM Peat Marwick, Tax Study for Louisiana, 1995, $55,000.

Papers and Discussions at Professional Meetings:


                    “Monetary Rules and Monetary Policy” presented at Southwestern Social
                    Science Meeting, (March 1972).

                    “Optimal Time Horizon for Policy Making,” presented at Southwestern
                    Social Science Meeting, (March 1973).

                    “Measuring the Impact of Monetary and Fiscal Policy,” presented at
                    Atlantic Economic Conference, (September 1974).

                    “Inflation and Development in the Mexican Economy: A Discussion,”
                    presented at Southern Economic Association, (November 1974).

                    “Reduced-Form Models and Monetary and Fiscal Multipliers,” presented
                    at Western Economic Association, (June 1975).


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               “Oil and Gas Forecasting Model,” presented at Southwestern Social
               Science Meeting (April 1976) (with Loren C. Scott).

               “Obtaining Consistent and Efficient Estimates with the Kalman Filter,”
               special paper presented to Economics Conference on Optimal Control
               Theory, sponsored by National Bureau of Economic Research (May
               1976), (co-author).

               “Oil and Gas Econometric Model: The Case of Louisiana,” presented to
               Western Economic Association Meeting (June 1976) (with Loren C.
               Scott).

               Comments on “Money, Liquidity, Reverse Causation, and the
               Transactions Demand for Money,” Southern Economic Association
               Meetings (November 1976).

               “A Long-Run Model of Oil and Gas Production” (with Loren C. Scott) at
               Southern Economic Meetings (November 1977).

               “Price Expectations, Interest Rates, and Monetary and Fiscal Authorities,”
               at Southwestern Social Science Meetings (April 1978).

               “Income and Employment in a State Econometric Model: The Case of
               Louisiana,” at Missouri Valley Economic Conference (February 1978).

               “Price Expectations and Impact of Monetary and Fiscal Authorities Over
               the Business Cycle,” presented to Southern Economic Meetings,
               (November 1979).

               “Determining an Appropriate Teachers Salary,” presented to Education
               Finance Association, 1980.

               “State Taxation of Natural Resources,” presented to Western Economic
               Association, (July 1981).

               “Domestic and International Implications of Federal and State Policies
               Towards Heavy Oil,” presented to Conference on Heavy vs. Light Oil,
               sponsored by International Research Center for Energy and Economic
               Development, University of Colorado, (March 1982).

               “Government Regulations and Market Distortions: The Case of the
               NGPA and the Louisiana Economy,” presented to International Research
               Center for Energy and Economic Development, University of Colorado
               (September 1982).




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 Case 2:10-md-02179-CJB-DPC Document 7114-17 Filed 08/13/12 Page 47 of 52




                   “Experience with the Combining of Simple Forecasts with those of Large
                   Scale Econometric Models,” American Institute For Decision Sciences
                   (October 1984).

                   “Combining Macroeconomic Inputs,” Paper presented at the ORSA/TIMS
                   Joint National Meeting, Boston, Mass., (1985).

                   “Spectral Analysis of Nominal Interest Rates,” Conference on Dynamic
                   Modeling and Control of National Economies, Budapest, Hungary (July
                   1986).

                   “Projecting the Impact of Offshore Oil and Gas Activity on A Producer
                   State” International Society of Forecasting (Boston: May 1987).

                   “Tax Reform and Tax Forecasting,” International Society of Forecasting
                   (Boston: May 1987).

                   “The Impact of OPEC on the Louisiana Offshore Industry,” Missouri
                   Valley Economic Association (February 1987).

                   “Perspectives on Louisiana Tax Reform,” Alabama Fiscal Policy
                   Symposium (August 1986).

                   Louisiana Tax Study, moderated and presented three papers, LSU/CABL
                   Tax Conference (January 1987).

                   “State Tax Reform,” Public Affairs Research Conference Annual Report,
                   (March 1987).

                   “Business and Environmental Taxes,” paper discussant, American
                   Economic Association and National Tax Association, (January 1992).

                   “Politics and Economics of Taxing Oil and Gas in Louisiana,” National
                   Tax Proceedings (October 1992).

                   “Taxing Oil and Gas in Kansas,” Task Force of the Governor (October
                   1995).

                   “Forecasting State Revenues in Louisiana: Procedures and Results,”
                   presented to International Conference of Academy of Business
                   Administration, Summer 1995.



Conferences and Public Forums:



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                       “Money and Minerals” presented to Annual Conference of Public Affairs
                       Research Council, 1980.

                       “Energy and the Louisiana Economy” presented to Annual Conference of
                       Public Affairs Research Council, 1982.

                       “Louisiana’s Financial Future’ presented to Annual Conference of Public
                       Affairs Research Council, 1983.

                       “Economic Outlook for Louisiana,” sponsored by the LSU College of
                       Business Administration, 1982, 1983, 1984, 1985, 1986, 1987, 1988,
                       1989, 1990, 1991, 1992, 1993, 1994, 1995, 1996, 1997, 1998, 1999, 2000,
                       2001, 2002, 2003, 2004, 2005, 2006, 2007,2008,2009, 2010, and 2011.

                       Electricity Deregulation in Louisiana, Annual Conference of Public
                       Affairs Research Council of Louisiana, 1997

                       Louisiana Fiscal Reform Efforts, presented to Annual Conference of
                       Public Affairs Research Council, 1998

                       Katrina and the Recovery of the Gulf Coast, Housing Policy Council, New
                       Orleans, (December 2005).

                       Katrina and the Recovery of New Orleans, Mortgage Bankers Association,
                       Phoenix, AZ (February 2006)

                       Katrina and Mega-catastrophes, Financial Services Roundtable, Phoenix,
                       AZ, (March 2006).

                       Initiating the Recovery after Katrina, Blue Ribbon Commission on Mega-
                       catastrophes sponsored by Financial Services Roundtable, Chicago, IL
                       (June 2006).

                       Katrina/Rita: The Ultimate Test for Tax Policy, National Tax Association,
                       May 2006.

Dissertation:


                       An Analysis of Alternative Monetary Policies within the Framework of
                       the FRB-MIT Econometric Model (completed August 1971: Directed by
                       Warren L. Smith, University of Michigan).


Teaching Activities:

                Courses Taught

                                               13
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                        Principles of Economics (Michigan and LSU, Undergrad.)
                        Money and Banking (Michigan and LSU, Undergrad.)
                        Business Cycle Theory (LSU, Undergrad.)
                        Aggregate Economics (LSU, Undergrad.)
                        Urban Economics (LSU, Undergrad.)
                        Seminar in Monetary and Fiscal Policy (LSU, Grad.)
                        Advanced Macroeconomic Theory (LSU, Grad.)
                        Independent Readings (LSU, Undergrad. And Grad.)
                        Public Administration Colloquium (LSU, Grad.)
                        Microeconomic Decisions (LSU, Grad.)
                        Public Finance (LSU, Grad and Undergrad)
                        Internships/Practicums, (LSU, Grad.)

Dissertation Committees—25 dissertation committees:


Master’s Committee (thesis) – 3 thesis committees

Professional Service:

                        Referee for Public Finance Quarterly, Southwestern Social Science
                        Quarterly, Growth and Change, Journal of Economics, Journal of
                        Education Finance, Journal of Macroeconomics, and Municipal
                        Finance Quarterly.

                        Member of American Economic Association, Southern Economic
                        Association, American Society of Public Administrators, National Tax
                        Association, and National Association of Schools of Public Affairs and
                        Administration.

University Service:

              Committees

                        Graduate Advisory Committee for Economics (Chairperson as of
                        September 1976 to 1982)

                        Computer Center liaison for College of Business Administration, 1974-75,
                        1975-76, 1976 to 1982

                        Honors Program Committee, 1971-1973

                        Committee to Select Computer Hardware for CEBA, Spring 1977

                        College Policy Committee (Chairperson, 1978-1981)


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                   College Courses and Curricula Committee, 1978-1983, Chairperson in
                   1982

                   University Courses and Curricula Committee, 1980-1983

                   University Self-Study Committee, Chairperson Financial Resources,
                   1982-1983.

                   Executive Committee, College of Business Administration, 1983-Present.

                   University Planning Committee, 1990-1994

                   Computer Advisory Committee, 1990-1994

                   L.S.U. Faculty Senate, 1999-2002

                   Faculty Senate Executive Committee, 1999-2001

                   Review of Evaluation of Faculty Members, Instructors, and Research
                   Associates, 2001-02

                   Committee to Review Athletic Oversight, 2002

                   Self-study Committee for upcoming accreditation, 2001-02

                   Search Committee for Dean of Business School, 2002

                   Fellow in Reilly Center on Media and Public Policy, 2001-05

                   Committee to Review Tenure Policy, 2002-2005

                   University Planning Council, 2006- present

                   Search Committee for Provost, 2006

                   Search Committee for Dean, College of Business, 2007

Service to Community:

                   Member, Louisiana Tax Study Commission, 1983-84.

                   Contributor to Senate Task Force on Economic Development, 1983-1984.

                   Contributor to House Forum on Economic Development, 1985.

                   Contributor to House/Senate Task Force on Economic Development
                   Strategies, 1987.

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                Testimony before Numerous Committees of the Louisiana Senate and
                House of Representatives, since 1975.

                Testimony before U. S. Senate Committee on Energy Policy, 1986.

                Testimony before U.S. House of Representatives, 2006

                Member, Revenue Estimating Conference, State of Louisiana, 1987-
                present

                Fiscal Advisor to Governor of Louisiana, 1988-91

                Advisor to Governor of Louisiana, 1995-96, on Unemployment Insurance
                Program

                Member, Louisiana Law Institute’s Tax Study Committee, 2000

                Speaker at numerous clubs and luncheons such as Rotary, Lions, Kiwanis,
                Professional Women’s Association, Personnel Managers, Financial
                Analysts, and others.

                 Chairman, Public Affairs Research Council of Louisiana, 1995-97

                Member, Board of Trustees, Public Affairs Research Council of
                Louisiana, 1980-present

                Member, Tax Study Commission, Created by Resolution of Louisiana
                Senate and House, 1999-2000

                Testimony to Committee on Financial Services, U.S. House of
                Representatives, February 2007.


Honors:

                Woodrow Wilson Fellowship 1966-67
                University Fellowship, 1967-68 (Michigan)
                Teaching Fellowship, 1968-69 (Michigan)
                FDIC Dissertation Grant, 1969-70
                LSU Graduate School Summer Research Fellowship, Summer 1973
                LSU Foundation Post Doctoral Research Fellowship, 1973-74, 1974-75,
                and 1976-77
                LSU Foundation Distinguished Service Award, 1987
                John Rhea Alumni Professor, 1989-present
                Fellow, Reilly Center on Media and Public Policy, 2002 through present


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Selective Consulting and Expert Witness for Governments:


                   Department of Education, Louisiana

                   Department of Wildlife and Fisheries, Louisiana

                   Department of Revenue and Taxation, Louisiana

                   Department of Transportation and Development, Louisiana

                   Division of Administration, Louisiana

                   Department of Economic Development

                   Department of Labor, Louisiana

                   Attorney General’s Office, Louisiana

                   City of Baker, Louisiana

                   City of Zachary, Louisiana

                   Sulphur Community, Louisiana

                   Department of Revenue, Alabama

                   Office of Governor, Kansas

                   Office of Governor, Louisiana

                   Jefferson Parish

                   New Orleans Levee Board

                   State of Louisiana

                   U.S. Department of Justice

                    New Orleans Sewerage and Water Board

                   Mayor of New Orleans

                   Mayor of Baton Rouge



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